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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

FLIPSI, LTD.                                )
                                            )
                      Plaintiff,            )
                                            )
       vs.                                  )              Case No. 23 C 745
                                            )
TOMY INTERNATIONAL, INC.,                   )
                                            )
                      Defendant.            )


                         MEMORANDUM OPINION AND ORDER

MATTHEW F. KENNELLY, District Judge:

       Flipsi, Ltd. sued defendant TOMY International, Inc. for infringement of a design

patent and breach of contract. TOMY has filed a partial motion for summary judgment

against both claims, arguing that: (a) Flipsi cannot show TOMY's four-ounce insert

infringes on Flipsi's design patent, (b) Flipsi's design patent is invalid for anticipation,

(c) Flipsi has not shown design patent damages, and (d) Flipsi has not shown breach of

contract damages. TOMY has also moved to exclude the opinions of Flipsi's damages

expert, James Harrington, on lost profits damages and breach of contract damages. In

response, Flipsi has moved to exclude the opinion of TOMY's expert, Ronald Kemnitzer,

on the defense of anticipation. For the reasons below, the Court: concludes that

TOMY's four-ounce insert does not infringe and that Flipsi has failed to show patent

damages, but declines to enter summary judgment in TOMY's favor on its contentions

that Flipsi's design patent is invalid for anticipation and that Flipsi has failed to show

breach of contract damages. The Court further excludes Harrington's design patent

damages opinion but declines to exclude his breach of contract damages opinion.
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Finally, the Court denies Flipsi's motion to exclude Kemnitzer's anticipation opinion.

                                         Background

          The following facts are undisputed unless otherwise noted. Flipsi designs and

sells reusable baby bottles, including bottle inserts. On May 28, 2019, Flipsi filed a

design patent application for a beverage container insert. The application claimed

priority to U.S. Design Patent No. D779,882, which had been filed on September 3,

2015. The United States Patent and Trademark Office approved the application,

issuing U.S. Patent No. D890,574 to Flipsi on July 21, 2020.

          While developing the patent, Flipsi applied to participate in several competitions

and trade shows. First, around early 2014, Flipsi applied for the Dare to Dream

competition. Its application included the design for a silicone baby bottle insert. Flipsi

was selected as a contestant for the competition and eventually won funding.

          Second, in the spring of 2014, Flipsi applied to participate in the ASME IShow

Competition. Again, Flipsi's application included the design for a silicone baby bottle

insert. However, this time Flipsi was not selected to compete.

          Lastly, Flipsi participated in the 2014 ABC Kids Expo, held from September 7–10

of that year. As part of this Expo, Flipsi disclosed baby bottle design elements that

included a design for a silicone baby bottle insert.

          Apart from these competitions and trade shows, Flipsi also showed baby bottle

insert prototypes to 160 potential end users. Flipsi co-founder Jeffrey Plott asserts, but

TOMY disputes, that these disclosures were predominantly made to close friends and

family.

          In October 2016, TOMY contacted Flipsi about a potential collaboration to



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produce baby bottles. Shortly thereafter, Flipsi and TOMY signed a mutual

confidentiality agreement that barred TOMY from using and disclosing confidential

information obtained during the parties' discussions. The parties' communications

ended in March 2017, however, when TOMY notified Flipsi that it no longer wished to

collaborate.

       Around late 2017, TOMY began selling its own line of baby bottles in four- and

eight-ounce sizes. These bottles included corresponding four- and eight-ounce bottle

inserts.

       Flipsi learned of TOMY's line of baby bottles in March 2018. Beginning in

September 2020, Flipsi sent TOMY notices claiming that its inserts infringed on Flipsi's

patent. TOMY did not respond to these notices.

       Flipsi filed the present suit against TOMY on February 7, 2023. It then amended

its complaint. The Court partially dismissed the amended complaint without prejudice,

leading Flipsi to file a second amended complaint. The Court denied TOMY's motion to

dismiss the second amended complaint. This operative complaint includes claims

against TOMY for design patent infringement and breach of contract.

       Discovery is now complete, and TOMY has moved for partial summary judgment

on both of Flipsi's claims. As part of its motion, TOMY also moves to exclude certain

opinions of Flipsi's damages expert, James Harrington, concerning lost profits and

breach of contract damages. In its response to TOMY's summary judgment motion,

Flipsi moves to exclude the anticipation opinion of TOMY's design expert, Ronald

Kemnitzer.




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                                        Discussion

         Summary judgment is appropriate if there is no genuine dispute of material fact

and the moving party is entitled to judgment as a matter of law. Fed. R. Civ. P. 56(a). A

genuine dispute of material fact exists "if the evidence is such that a reasonable jury

could return a verdict for the nonmoving party." Anderson v. Liberty Lobby, Inc.,

477 U.S. 242, 248 (1986). The burden is on the moving party to demonstrate no

genuine dispute of material fact exists. Celotex Corp. v. Catrett, 477 U.S. 317, 323

(1986). The Court construes all facts in the light most favorable to the nonmoving party

and draws all reasonable inferences in that party's favor. Horton v. Pobjecky, 883 F.3d

941, 948 (7th Cir. 2018). The Court cannot "make credibility determinations" or "weigh

the evidence." Payne v. Pauley, 337 F.3d 767, 770 (7th Cir. 2003). Still, to avoid

summary judgment, the nonmoving party must identify "specific facts showing that there

is a genuine issue for trial" that go beyond a "mere scintilla of evidence." Johnson v.

Advoc. Health & Hosps. Corp., 892 F.3d 887, 894, 896 (7th Cir. 2018).

A.       Patent infringement

         TOMY argues that no reasonable jury could find its four-ounce bottle insert

infringed on Flipsi's patent. The patent holder must prove design patent infringement by

a preponderance of the evidence. Ethicon Endo-Surgery, Inc. v. Covidien, Inc.,

796 F.3d 1312, 1335 (Fed. Cir. 2015). "Determining whether a design patent has been

infringed is a two-part test: (1) the court first construes the claim to determine its

meaning and scope; (2) the fact finder then compares the properly construed claim to

the accused design." Lanard Toys Ltd. v. Dolgencorp LLC, 958 F.3d 1337, 1341 (Fed.

Cir. 2020). The "ordinary observer" test is used to compare the patented and accused



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design. Id. Infringement is found "if, in the eye of an ordinary observer, giving such

attention as a purchaser usually gives, two designs are substantially the same, . . .

inducing [a consumer] to purchase one supposing it to be the other." Egyptian

Goddess, Inc. v. Swisa, Inc., 543 F.3d 665, 670 (Fed. Cir. 2008) (en banc) (quoting

Gorham Co. v. White, 81 U.S. 511, 528 (1871)). Because the focus is on the ordinary

observer, differences "must be evaluated in the context of the claimed design as a

whole," as opposed to evaluating "separate elements in isolation." Id.; Think Green Ltd.

v. Medela AG, No. 21 C 5445, 2022 WL 6123348, at *4 (N.D. Ill. Oct. 7, 2022) (quoting

Hutzler Mfg. Co. v. Bradshaw Int', Inc., No. 11 C 7211, 2012 WL 3031150, at *10

(S.D.N.Y. July 25, 2012)) ("In determining whether two designs are 'substantially the

same,' courts focus on the 'overall impression given by the claimed design, rather than

particular ornamental details or minutiae.'").

       In evaluating the claimed design, the fact finder must also consider the "prior

art"—the knowledge that was available at the time of the patent to a person of ordinary

skill in the art. Egyptian Goddess, 543 F.3d at 676 ("[T]he ordinary observer is deemed

to view the differences between the patented design and the accused product in the

context of the prior art."); Wimo Labs LLC v. Polyconcept N.A., Inc., 358 F. Supp. 3d

761, 764 n.6 (N.D. Ill. 2019) (citing Kimberly-Clark Corp. v. Johnson & Johnson,

745 F.2d 1437, 1453–54 (Fed. Cir. 1984)). When prior art is considered, an ordinary

observer will focus on the "aspects of the claimed design that differ from the prior art."

Egyptian Goddess, 543 F.3d at 676. This is especially true "when the claimed design is

close to the prior art designs." Id. Similarity between the patent and prior art makes

even "small differences" between the patent and accused design "important" to the



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ordinary observer. Id.

       The Court previously construed the patent as follows:

       [A] beverage container insert which incorporate[s] the ornamental design
       shown in the drawings in solid lines. . . . [D]rawings shown using broken
       lines are not part of the claimed design. The contour lines shown on the
       surface of the beverage insert container . . . represent contour only.

Minute Entry of Jan. 11, 2024, Dkt. No. 64.

       With this construction, Flipsi's patent depicts a design for a cup that has a height-

to-width ratio of about three-to-two, a lip at the top, a blank / solid surface, and sidewalls

that start straight but start to gradually taper about one-third of the way down, until

dramatically closing at the base of the cup. In other words, a somewhat tall cup that

slightly tapers at the sides into a rounded bottom.

       TOMY argues that three aspects of its four-ounce insert create an overall

impression distinct from Flipsi's patented design. First, the sidewalls on TOMY's insert

go straight down until curving at the very bottom, as opposed to the gradual taper in the

patented design. Second, the striping on TOMY's insert differs from the patented

design, which has no striping or other features on the insert. Third, the height-to-width

ratio of one-to-one on the TOMY insert makes it a short and squat form, as contrasted

with the patent's three-to-two ratio.

       When considering these elements together, no reasonable jury could find

TOMY's four-ounce insert infringes Flipsi's patent. The differing, smaller proportions

create a unique impression that would immediately alert an ordinary observer that

TOMY's insert is distinct from the patent. Even the most hurried online consumer can

tell the difference between a tall glass and a short, stocky one—people in search of

highball glasses, which are tall, are not confused into buying old fashioned glasses,


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which are short. This, along with the differing sidewall tapering and striping, ensure that

no ordinary observer would confuse TOMY's four-ounce insert with Flipsi's patent.

       Flipsi's arguments otherwise are unavailing. Flipsi first contends that slight

differences in size and proportion cannot avoid infringement. To support this

proposition, it cites Kao v. Snow Monster Inc., No. CV 17-08934-RSWL-GJSx, 2019 WL

2164192 (C.D. Cal. May 16, 2019). Kao involved a design patent for a lightbulb-shaped

cup. Id. at *1. The accused cup design retained the lightbulb shape but made the cup

smaller and changed the proportions by elongating the neck. Id. at *3. The district

court found that, "[g]iven the uniqueness of the shape," a reasonable jury could find the

accused design infringed on the patent. Id. The court emphasized that because the

accused design still "'embodie[d]' a classic lightbulb" or "any colorable imitation thereof,"

a reasonable juror could find infringement. Id. at *4.

       Flipsi did not patent a uniquely recognizable cup design, like a lightbulb. The

patented design, even if novel, does not evoke any object other than a tall cup. By

changing the proportions to be short and stocky, TOMY's four-ounce insert evokes a

different, smaller cup. Flipsi cannot claim TOMY infringed its patent simply because

TOMY's four-ounce insert still "embodies" or is a "colorable imitation" of a cup—that

would impermissibly expand Flipsi's narrow design patent to cover materially different

cup designs. See In re Mann, 861 F.2d 1581, 1582 (Fed. Cir. 1988) ("Design patents

have almost no scope."). The insert's differing proportions promote a distinct overall

impression from Flipsi's patent.

       Next, Flipsi argues TOMY's insert has tapered walls like its patented design, not

straight walls. The Court, with the accused designs in front of it, is confident the walls of



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the four-ounce insert are in fact straight. If there is any taper before the bottom, it is

imperceptible to the naked eye, and it certainly would not be noticeable by the ordinary

observer. Although Flipsi argues this fact is in dispute, it cannot manufacture a

"genuine" dispute of fact by contradicting reality. Cf. Scott v. Harris, 550 U.S. 372, 380

(2007) ("When opposing parties tell two different stories, one of which is blatantly

contradicted by the record, so that no reasonable jury could believe it, a court should

not adopt that version of the facts for purposes of ruling on a motion for summary

judgment."). No reasonable jury could find that the walls of the accused design are not

straight.

       Flipsi responds that even if the four-ounce insert has straight walls, the variance

is too slight to change the overall impression of the design. This may be true in a

vacuum. But the hypothetical ordinary observer is expected to understand the relevant

prior art, so much so that even "small differences" become "important." See Egyptian

Goddess, 543 F.3d at 676. When Flipsi's patent was granted, the patent examiner

emphasized that what made Flipsi's design different from prior art was the sidewall

tapering: "None of the prior art has identical sidewall angle as the claimed design. . . .

[T]he claimed design tapered inwardly start[ing] from the upper 1/3 of the container, and

curve inwardly dramatically close to the base." Def. TOMY Int'l, Inc.'s Local Rule 56.1

Stmt. of Undisputed Material Facts in Supp. of Partial Summ. J. ¶ 44. An ordinary

observer, understanding that most cups do not have the patent's unique sidewall

tapering, would find the four-ounce insert's straight sidewalls contribute to a distinct

overall impression.

       Finally, Flipsi argues the striping of TOMY's insert is an immaterial difference



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because the patent should be construed to include all possible wall patterns. Flipsi is

correct that "when a patent fails to specify a limitation," it is "entitled to the broadest

reasonable construction." Apple, Inc. v. Samsung Elecs. Co., No. 11-CV-01846-LHK,

2012 WL 3071477, at *5 (N.D. Cal. July 27, 2012) (citing In re Am. Acad. of Sci. Tech

Ctr., 367 F.3d 1359, 1363 (Fed. Cir. 2004)). The depiction of a blank surface, for

example, reasonably can be construed to claim a "transparent, translucent, or opaque

surface." Think Green, 2022 WL 6123348, at *3 (citing Transmatic, Inc. v. Gulton

Indus., Inc., 601 F.2d 904, 912 (6th Cir. 1979)). Yet it is unreasonable to construe a

blank surface to claim a patterned surface. A pattern is inherently not blank, and Flipsi

cites no cases that have found a blank surface in a patent to claim alternate patterns.

Because Flipsi did not patent a striped pattern, the insert's stripes are another

distinguishing feature an ordinary observer would notice. See Super-Sparkly Safety

Stuff, LLC v. Skyline USA, Inc., 836 F. App'x 895, 898 (Fed. Cir. 2020) (concluding an

accused design with rhinestone surfaces everywhere but the bottom was "plainly

dissimilar" from a patent that included rhinestones on its bottom surface).

       To be clear, the Court is not concluding that any one of these elements, in

isolation, prevents a finding of infringement. A reasonable jury might conclude that a

design that changed only one of the above elements infringes on Flipsi's patent. Yet the

combination of the four-ounce insert's smaller proportions, straight sidewalls, and

striped pattern create a distinct overall impression from the patent. No reasonable jury

could find that an ordinary observer, aware of the prior art, would view TOMY's four-

ounce insert as substantially similar to Flipsi's patented design. The Court grants

TOMY's motion for summary judgment against patent infringement on the four-ounce



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insert.

B.        Anticipation

          TOMY also argues that Flipsi's patent is invalid for anticipation. "Design patents

are presumed valid." Spigen Kor. Co. v. Ultraproof, Inc., 955 F.3d 1379, 1383 (Fed. Cir.

2020). To invalidate a patent at summary judgment, the moving party must provide

"clear and convincing evidence of facts underlying invalidity that no reasonable jury

could find otherwise." Id.

          A patent is invalid for anticipation "if the claimed invention was . . . in public

use . . . or otherwise available to the public before the effective filing date." 35 U.S.C.

§ 102(a)(1). Public disclosures by the inventor, however, do not invalidate a patent if

they were made during the statutory grace period: "1 year or less before the effective

filing date." Id. § 102(b)(1).

          Nor are all disclosures "public." In deciding whether a disclosure counts as

"public use," one considers the "totality of circumstances." Bernhardt, LLC v. Collezione

Europa USA, Inc., 386 F.3d 1371, 1381 (Fed. Cir. 2004). The "absence of a

confidentiality agreement" is "not dispositive" of public use but instead is "one factor to

be considered in assessing all the evidence." Id.

          Flipsi's patent claims a priority date of September 3, 2015. Therefore, any public

disclosures made more than a year before that date (i.e., before September 3, 2014)

would invalidate the patent for anticipation.

          1.     Public disclosures

          TOMY contends that Flipsi's disclosures of a prototype bottle at competitions,

tradeshows, and to potential end users all before September 3, 2014, invalidate its



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patent. First, TOMY cites Flipsi's entries into the 2014 Dare to Dream and ASME IShow

competitions, in which Flipsi disclosed renderings of a prototype bottle in its

applications. In response, Flipsi provides an affidavit from its co-founder, Jeffrey Plott,

who stated the competitions were "internal" student competitions and that he "fully

understood and expected that the materials submitted to these competitions were to be

kept confidential." Decl. of Jeffrey Plott ¶¶ 8–9. Although TOMY emphasizes that there

is no evidence of confidentiality or nondisclosure agreements related to these

competitions, the absence of confidentiality agreements is not dispositive. See

Bernhardt, 386 F.3d at 1381. A norm of confidentiality can be enough. See, e.g.,

Cordis Corp. Bos. Sci. Corp., 561 F.3d 1319, 1334 (Fed. Cir. 2009) (affirming a district

court's grant of summary judgment that a patent was not anticipated when there was

evidence of "academic norms" that "gave rise to an expectation that disclosures will

remain confidential"). Plott's testimony that he understood these applications to be

confidential creates a genuine factual dispute regarding whether these disclosures were

public.

          Second, TOMY notes Flipsi's public participation in the 2014 ABC Kids Expo.

Unlike the above competitions, there is little evidence that the Expo was confidential.

Although Flipsi argues that its participation in the Expo was governed by a

nondisclosure agreement, its failure to both produce the agreement during discovery

and justify that failure is grounds for disregarding it. See Chi. Joe's Tea Room, LLC v.

Village of Broadview, 94 F.4th 588, 603 (7th Cir. 2024) ("[T]he sanction for failure to

disclose is automatic and mandatory unless the sanctioned party can show its violation

was either justified or harmless."). Even if the Court were to credit the agreement, the



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circumstances of the Expo indicate that it was a public event. Flipsi itself produced a

public Twitter post during the Expo showcasing a prototype of the patent and

encouraging attendees to visit Flipsi's booth.

       The Expo, however, occurred on September 7–10, 2014, within the statutory

grace period. TOMY attempts to sidestep this issue by noting that an application

containing information about the patent must have been submitted before the grace

period. Still, Plott has testified that the application materials were understood to be

"confidential." Decl. of Jeffrey Plott ¶ 13. His testimony, even absent a nondisclosure

agreement, is evidence that creates a genuine factual dispute regarding whether this

disclosure was public.

       Third, TOMY argues that Flipsi publicly disclosed prototypes of its patent to 160

end users. Plott, on the other hand, insisted in his affidavit that relevant prototypes

were only shown to "friends and family" who he had "confidence . . . would maintain the

confidentiality of the prototypes." Id. ¶ 10. TOMY again emphasizes that Plott never

obtained confidentiality agreements. Again, those agreements are not required for

disclosures to be confidential, especially when communications are between friends and

family. See Delano Farms Co. v. Cal. Table Grape Comm'n, 778 F.3d 1243, 1249 (Fed.

Cir. 2015) (citation omitted) (noting that "demonstration of a prototype to friends and

colleagues" is not an invalidating public disclosure when there was evidence supporting

"a general understanding of confidentiality"). Plott's testimony creates a genuine factual

dispute regarding whether the disclosures to 160 end users were public.

       In a final effort to smooth over these disputes of material fact, TOMY argues that

Plott's affidavit should be disregarded as a sham affidavit. "The sham affidavit rule . . .



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permits a judge to disregard a 'sham' affidavit—typically an affidavit that contradicts

prior deposition testimony." Craig v. Wrought Washer Mfg., Inc., 108 F.4th 537, 543

(7th Cir. 2024). Yet TOMY fails to identify how Plott's affidavit contradicts his deposition

testimony. His admission that he never obtained confidentiality agreements from

friends and family is not contradicted by his statement that he "had confidence . . . they

would maintain the confidentiality of the prototypes"—one can trust the discretion of

friends and family without having an express agreement. At most, this is a permissible

clarification of prior deposition testimony. See Simmons v. Chi. Bd. of Educ., 289 F.3d

488, 492 (7th Cir. 2002) ("[A] party may attempt to clarify or augment (but not contradict)

prior deposition testimony through affidavits."). TOMY may not consider this affidavit

credible, but the place to debate witness credibility is before a jury, not during summary

judgment. See Payne, 337 F.3d at 770 (noting a court cannot "make credibility

determinations" or "weigh the evidence" on summary judgment). Jeffrey Plott's affidavit

can (and does) create a genuine factual dispute regarding whether the disclosures were

public.

          2.     Substantial similarity

          Even if a use is public, anticipation only occurs if the use is "identical in all

material respects to the claimed invention." Door-Master Corp. v. Yorktowne, Inc.,

256 F.3d 1308, 1313 (Fed. Cir. 2001) (citation omitted). Like infringement, the ordinary

observer test is used to determine whether prior public uses are substantially similar to

a patent. Int'l Seaway Trading Corp. v. Walgreens Corp., 589 F.3d 1233, 1240 (Fed.

Cir. 2009) (holding that the ordinary observer test is "the sole test for anticipation"). In

other words, "that which infringes, if later, would anticipate, if earlier." CommScope



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Techs. LLC v. Dali Wireless Inc., 10 F.4th 1289, 1294 (Fed. Cir. 2021) (quoting Peters

v. Active Mfg. Co., 129 U.S. 530, 537 (1889)). This makes the narrow scope of design

patents a double-edged sword: if slight differences can create a distinct impression that

avoids infringement, similarly small differences can dodge anticipation. See In re Mann,

861 F.2d at 1582 ("Design patents have almost no scope.").

       A reasonable jury could find that the rendered prototypes disclosed during the

student competitions did not anticipate Flipsi's patent. Flipsi's design expert Paul Hatch

notes in his rebuttal report that the prototype disclosed during these competitions was

curved and had a more noticeable sidewall taper, creating a "very bulbous, rounded

impression" unlike the patented design. Expert Rebuttal Report by Paul Hatch in Supp.

of Pl. Flipsi, Ltd. ¶ 45. As discussed above, one of the distinct features of Flipsi's patent

is the sidewall tapering, which starts off slight but then dramatically encloses at the

base. The absence of this tapering in the more bulbous prototype is enough of a

difference to allow a reasonable jury to conclude the prototype has a distinct overall

impression from Flipsi's patent, preventing anticipation.

       Flipsi does not, however, explain how the prototypes disclosed during the ABC

Kids Expo differ from its patent. Although Plott stated during his deposition that the

design showcased at the Expo was not the final patented design, he does not elaborate

on how the designs differ. Nor does Flipsi's design expert Hatch discuss the Expo

prototype. Still, the parties dispute whether the Expo prototype's design was disclosed

during the application process or just during the Expo, which occurred within the

statutory grace period. This, along with the above discussion, creates a genuine

dispute of material fact that cannot be resolved on summary judgment.



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       The Court denies TOMY's motion for summary judgment on the patent's invalidity

for anticipation.

C.     Expert admissibility

       As part of their summary judgment briefing, both Flipsi and TOMY have moved to

exclude their opponents' experts. See Lewis v. CITGO Petroleum Corp., 561 F.3d 698,

704 (7th Cir. 2009) (noting it is "entirely proper" to determine the admissibility of expert

testimony while deciding a summary judgment motion). Rule 702 of the Federal Rules

of Evidence "governs the admissibility of expert testimony in federal court." Artis v.

Santos, 95 F.4th 518, 525 (7th Cir. 2024). The proponent of the testimony must

demonstrate to the Court by a preponderance of the evidence that: "(a) the expert's

scientific, technical, or other specialized knowledge will be helpful to the jury; (b) the

testimony is based on sufficient facts or data; (c) the testimony is the product of reliable

principles and methods; and (d) the expert has reliably applied the principles and

methods to the facts." Id.; Fed. R. Evid. 702.

       In evaluating expert testimony, a district court is tasked with the "gatekeeping

responsibility" to ensure expert testimony "is not only relevant, but reliable." Artis,

95 F.4th at 525 (quoting Daubert v. Merrel Dow Pharms., Inc., 509 U.S. 579, 598

(1993)). As part of this responsibility, a court must also determine whether an expert is

"qualified to testify in the case in question." Gayton v. McCoy, 593 F.3d 610, 616 (7th

Cir. 2010); Fed. R. Evid. 702 (requiring experts to be "qualified" by "knowledge, skill,

experience, training, or education"). An expert in one subject may not be qualified to

speak on another. The inquiry is "not whether an expert witness is qualified in general,"

but whether the expert's "qualifications provide a foundation . . . to answer a specific



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question" asked. Gayton, 593 F.3d at 617 (quoting Berry v. City of Detroit, 25 F.3d

1342, 1351 (6th Cir. 1994)). A court must "look at each of the conclusions [the expert]

draws individually" to determine if the expert "has the adequate education, skill, and

training to reach them." Id.

       Finally, once a court has fulfilled its gatekeeping role, it must step aside. The

adversarial process is the proper place to debate expert testimony deemed relevant and

sufficiently reliable to be admissible. Artis, 95 F.4th at 527 (quoting Daubert, 509 U.S.

at 596) ("After the [gatekeeping] threshold, 'the familiar tools of vigorous cross-

examination, presentation of contrary evidence, and careful instruction on the burden of

proof' will do.").

       1.      Ronald Kemnitzer

       Flipsi moves to exclude the testimony of TOMY's design expert, Ronald

Kemnitzer, regarding his anticipation analysis. Specifically, Flipsi takes issue with

Kemnitzer's statements concerning whether the disclosures discussed above were

public or confidential.

       Flipsi is correct that Kemnitzer cannot appropriately testify that the disclosures

were public. As stated above, it is disputed whether the disclosures were public or

confidential, and an expert cannot "testify[] that a disputed fact actually occurred." See

Richman v. Sheahan, 415 F. Supp. 2d 929, 942 (N.D. Ill. 2006).

       Yet the fact that Kemnitzer relies on disputed facts does not disqualify his entire

anticipation opinion. "It is well-settled that experts can base their opinions on disputed

facts" if "there is evidence to support such facts." Harris v. City of Chicago, No. 14 C

4391, 2017 WL 2436316, at *12 (N.D. Ill. June 5, 2017); see also Andersen v. City of



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Chicago, No. 16 C 1963, 2020 WL 1848081, at *4 (N.D. Ill. Apr. 13, 2020) (collecting

cases); Fed. R. Evid. 702 advisory committee's note to 2000 amendment (noting that an

expert may "reach different conclusions based on competing versions of the facts").

TOMY has provided evidence, albeit disputed, that Flipsi's prototype disclosures were

public. Kemnitzer may rely on that evidence to conclude, in conjunction with his

analysis on the similarities between the prototypes and the patent, that Flipsi's patent is

invalid for anticipation.

       The Court denies Flipsi's motion to exclude Kemnitzer's anticipation opinion.

       2.      James Harrington

               a.     Lost profits damages

       First, TOMY moves to exclude the testimony of Flipsi's damages expert, James

Harrington, regarding lost profits damages. Section 289 of the Patent Act allows a

plaintiff to "recover the total profit an infringer makes from the infringement." Samsung

Elecs. Co. v. Apple Inc., 580 U.S. 53, 58 (2016); 35 U.S.C. § 289. Calculating section

289 damages involves a two-step process: (1) "identify the 'article of manufacture' to

which the infringed design has been applied," and (2) "calculate the infringer's total

profit made on that article of manufacture." Samsung, 580 U.S. at 59.

       Identifying the article of manufacture can be complicated when the infringing

embodiment of the patent is just one part of a multicomponent product. The Supreme

Court in Samsung held that the article of manufacture is not necessarily the end product

"sold to a consumer," but could also be "a component of that product." Id. Despite this,

the Supreme Court "decline[d] to lay out a test" for "identifying the relevant article of

manufacture." Id. at 62.



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       District courts have adopted a four-factor test, supported by both parties in

Samsung during Supreme Court oral argument, to determine the relevant article of

manufacture: 1) "[t]he scope of the design claimed in the plaintiff's patent, including the

drawing and written description;" 2) "[t]he relative prominence of the design within the

product as a whole;" 3) "[w]hether the design is conceptually distinct from the product as

a whole;" and 4) "[t]he physical relationship between the patented design and the rest of

the product." Apple Inc. v. Samsung Elecs. Co., No. 11-CV-1846-LHK, 2017 WL

4776443, at *8, *19 (N.D. Cal. Oct. 22, 2017); Nordock, Inc. v. Sys., Inc., No. 11 C 118,

2017 WL 5633114, at *4, *6 (E.D. Wis. Noc. 21, 2017); MCP IP, LLC v. .30-06

Outdoors, LLC, 643 F. Supp. 3d 800, 803 (S.D. Ohio Nov. 21, 2022).

       The plaintiff bears the initial burden of persuasion and production to "identify[] the

relevant article of manufacture and prov[e] the amount of total profit on the sale of that

article." Apple, 2017 WL 4776443, at *19; Nordock, 2017 WL 5633114, at *3; MCP IP,

643 F. Supp. 3d at 803; see also Schaffer ex rel. Schaffer v. Weast, 546 U.S. 49, 56

(2005) (noting the "ordinary default rule" is that "plaintiffs bear the risk of failing to prove

their claims"). If the plaintiff satisfies its burden, "the burden of production shifts to the

defendant to come forward with evidence of an alternative article of manufacture and

any deductible expenses." Apple, 2017 WL 4776443, at *19; Nordock, 2017 WL

5633114, at *4; MCP IP, 643 F. Supp. 3d at 803.

       TOMY contends that Harrington is not qualified to determine the relevant article

of manufacture. In his report, Harrington analyzed the above factors to conclude that

TOMY's entire baby bottle product was the relevant article of manufacture, not just the

allegedly infringing bottle insert. TOMY emphasizes that Harrington lacks expertise in



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product design or design patents, making him unqualified to conduct such an analysis.

In response, Flipsi argues that Harrington's experience serving as a financial,

accounting, and damages expert in several intellectual property disputes, including

patent infringement matters, qualifies him to conduct an article of manufacture analysis.

       The Court finds that Harrington is not qualified to testify regarding the relevant

article of manufacture in this particular case. Although Flipsi cites Harrington's

extensive background as a forensic accountant, it does not explain how his background

qualifies him to identify an article of manufacture in the present circumstances. Nor

could it, as the factors relate to patent construction and product design, not economics.

       The first factor, for example, concerns the scope of the patent. Harrington's

economic expertise does not make him an expert in patent construction. His analysis

on this factor reflects as much. Rather than rely on his knowledge, skill, or experience

to find that the patent described a "component of a multi-component product," he based

his conclusion on a "plain reading of the patent." Expert Report on Damages by James

Harrington ¶ 32. This "plain reading" in no way draws on Harrington's economic

expertise.

       Harrington's expertise also does not inform his conclusions concerning the three

other article of manufacture factors. To determine the prominence, distinctness, and

physical relationship of the bottle inserts to the entire baby bottle, Harrington analyzed

pictures of TOMY's products. His conclusions that the bottle insert was "not

conceptually distinct" from the overall product and a "key component" of the baby bottle

were based on an interpretation of TOMY's bottle design. Id. ¶¶ 33–36. No amount of

economic expertise makes Harrington an expert on product design. See Gayton,



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593 F.3d at 617.

       Flipsi, in a last attempt to save Harrington's testimony, argues that his

qualifications are inconsequential because his analysis could be helpful to the jury. Yet

Rule 702 requires courts to ensure expert testimony "is not only relevant, but reliable."

Artis, 95 F.4th at 525 (quoting Daubert, 509 U.S. at 598). Whether or not Harrington's

conclusions could help the jury, his lack of expertise makes his analysis inadmissible.

And in basing certain of his conclusions on a simple, non-expert-informed visual

observation, Harrington is contributing nothing beyond what an ordinary juror could do.

The Court grants TOMY's motion to exclude Harrington's lost profits damages opinion.

       TOMY further argues that summary judgment of no lost profits damages is

required once Harrington's testimony is excluded. Flipsi disagrees, arguing that even if

Harrington is excluded, "the necessary data for calculating damages . . . is available to

present at trial." Pl. Resp. to Def.'s Mot. for Summ. J. & Mot. to Exclude Def.'s Expert's

Anticipation Opinion, at 14. As stated above, it is the plaintiff's burden to identify the

article of manufacture when requesting patent damages based on an infringer's profits.

Apple, 2017 WL 4776443, at *19; Nordock, 2017 WL 5633114, at *3; MCP IP, 643 F.

Supp. 3d at 803. Flipsi acknowledges that it carries this burden: "Initially, it is the

patentee's burden in 'identifying the article of manufacture and proving the defendant's

total profit from that article of manufacture' that it has selected." Pl. Resp. to Def.'s Mot.

for Summ. J. & Mot. to Exclude Def.'s Expert's Anticipation Opinion, at 14 (quoting

Nordock, 2017 WL 5633114, at *3). The patent holder cannot defer this until trial, at

least not when the point is challenged on summary judgment. Summary judgement "is

not a dress rehearsal or a practice run"—a party must provide "what evidence it has that



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would convince a trier of fact to accept its version of the events." Beaumont v. J.P.

Morgan Chase Bank, N.A., 782 F. Supp. 2d 656, 663 (N.D. Ill. 2011) (quoting Hammel

v. Eau Galle Cheese Factory, 407 F.3d 852, 859 (7th Cir. 2005)). Flipsi's failure to

present admissible evidence identifying the article of manufacture means that no

reasonable jury could find, based on the evidence provided, that it can recover lost

profits damages in this case. 1

        Flipsi's inability to show lost profits damages, however, does not bar its patent

infringement claim. The Patent Act establishes a statutory minimum of "not less than

$250" in lost profits damages if patent infringement is found, whether or not damages

are shown. 35 U.S.C. § 289. The Court grants TOMY's motion for summary judgment

regarding lost profits damages, and limits Flipsi's possible patent damages recovery to

$250 if infringement is proved at trial. 2

               b.     Breach of contract damages

        Second, TOMY moves to exclude as unreliable Harrington's testimony regarding

breach of contract damages. In determining lost revenue attributable to TOMY's alleged


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  Flipsi's design expert Hatch testified during his deposition on May 29, 2024, that he
agreed with Harrington's article of manufacture analysis. TOMY argues in its briefing
that Hatch's testimony cannot be considered, as it was procured after the April 2
deadline for expert disclosures. Flipsi does not respond to this argument, and it does
not mention Hatch's testimony when identifying the relevant article of manufacture in its
briefing. Therefore, Flipsi has forfeited any argument that Hatch's testimony is evidence
of the relevant article of manufacture. See Bonte v. U.S. Bank, N.A., 624 F.3d 461, 466
(7th Cir. 2010) ("Failure to respond to an argument . . . results in waiver.").
2
   TOMY also moves to exclude Harrington's calculation of lost profits damages on the
ground that it is overly speculative. The Court need not address this argument, as even
if Harrington's calculations could have been admissible, the Court's grant of summary
judgment on the lack of lost profits damages renders his entire lost profits analysis
irrelevant.



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breach of contract, Harrington analyzed Flipsi's week-to-week sales. He concluded that

Flipsi's sales were growing before TOMY entered the market, at which point Flipsi's

sales "dropped off dramatically." Expert Report on Damages by James Harrington ¶ 48.

Based on this conclusion, Harrington determined that Flipsi would have at least

maintained sales of approximately $1,900 every two weeks, its highest bi-weekly sales

figure, had TOMY not breached its contract with Flipsi and entered the market.

Therefore, Harrington calculated lost revenues as equaling what Flipsi would have

made if it achieved roughly $1,900 in sales every two weeks from the time TOMY

entered the market to December 2023: approximately $265,000. TOMY argues that

Harrington's analysis is unreliable, as it simply takes Flipsi's highest sales number and

holds it constant all the way to December 2023, rather than considering Flipsi's historic

sales, average sales, or growth rate prior to TOMY's market entrance.

       The Court finds Harrington's breach of contract testimony sufficiently reliable to

be admissible. The reasoning above is not, as TOMY characterizes it, Harrington

choosing a number "because he said so." Def. TOMY Int'l, Inc.'s Reply in Supp. of its

Mot. for Partial Summ. J., at 15 (quoting Metavante Corp. v. Emigrant Savs. Bank,

619 F.3d 748, 761 (7th Cir 2010)). Rather, Harrington determined, based on his

expertise and Flipsi's historic sales data, that Flipsi's sales were increasing before

TOMY entered the market. His decision to use Flipsi's highest bi-weekly sales figure of

$1,900 was a "conservative" estimate in his view, as Flipsi's continual market growth

would have led to higher sales peaks absent TOMY's market entry. Expert Report on

Damages by James Harrington ¶ 49. TOMY may consider Harrington's analysis self-

serving, but that does not make it unreliable—it is not devoid of "methodologies and



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principles that support his opinion." Metavante, 619 F.3d at 761. TOMY's

disagreement with how Harrington conducted his analysis goes to the weight of his

testimony, which should be debated before the jury via cross-examination and

presentation of contrary evidence and argument. Artis, 95 F.4th at 527. The Court

denies TOMY's motion to exclude Harrington's breach of contract damages opinion.

      TOMY also moves for summary judgment on the damages element of the breach

of contract claim. Because Harrington's analysis is admissible evidence concerning

damages, the Court denies TOMY's motion for summary judgment on that point.

                                      Conclusion

      For the reasons stated above, the Court grants TOMY's partial motion for

summary judgment in part and denies it in part. The Court grants TOMY summary

judgment of non-infringement regarding TOMY's four-ounce bottle insert and on Flipsi's

request for lost profits damages. The Court otherwise denies TOMY's motion for

summary judgment. In addition, the Court excludes Flipsi expert witness Harrington's

testimony on lost profits damages but declines to exclude his testimony on breach of

contract damages. Lastly, the Court denies Flipsi's motion to exclude Ronald

Kemnitzer's anticipation opinion testimony. The Court directs the parties to meet and

confer regarding an appropriate schedule for further proceedings and file a joint status

report on February 18, 2025. A telephonic status hearing is set for February 25, 2025 at

9:10 a.m., using call-in number 650-479-3207, access code 2305-915-8729.



Date: February 4, 2025
                                                ________________________________
                                                     MATTHEW F. KENNELLY
                                                     United States District Judge


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